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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

CHERYL WEIMAR,

      Plaintiffs,

v.                                         CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
and RYAN DIONNE,

     Defendants.
________________________________/

                         NOTICE OF MEDIATION

      PLEASE TAKE NOTICE that mediation for the above styled cause has been

scheduled before Gary H. Larsen, Esquire, to commence at the time and place

described below:

      DATE:             March 24, 2020

      TIME:             1:30 p.m.

      PLACE:            Gray Robinson, P.A.
                        401 East Jackson Street, Suite 2700
                        Tampa, FL 33602

                                    Respectfully submitted,

                                    ANDREWS LAW FIRM
                                    822 North Monroe Street
                                    Tallahassee, Florida 32303
                                    T: (850) 681-6416 / F: 681-6984
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                                   /s/ Steven R. Andrews
                                   STEVEN R. ANDREWS (FBN: 0263680)
                                   steve@andrewslaw.com

                                   /s/ Ryan J. Andrews
                                   RYAN J. ANDREWS (FBN: 0104703)
                                   ryan@andrewslaw.com
                                   JOHN M. VERNAGLIA (FBN: 1010637)
                                   john@andrewslaw.com
                                   service@andrewslaw.com
                                   Counsel for Plaintiff




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

served by electronic service on this 3rd day of March, 2019, to:

       Thomas Gonzalez, Esq.                    Thomas R. Thompson, Esq.
       Nathan Paulich, Esq.                     Mallory R. Bennett, Esq.
       Gray Robinson, P.A.                      Thompson, Crawford & Smiley
       401 East Jackson Street, Suite 2700      1330 Thomasville Road
       Tampa, FL 33602                          Tallahassee, FL 32303
       Thomas.gonzalez@gray-robinson.com        tom@tcslawfirm.net
       Nathan.paulich@gray-robinson.com         mallory@tcslawfirm.net
       Sherry.Knox@gray-robinson.com            rebecca@tcslawfirm.net
       Laura.Stillwell@gray-robinson.com        karen@tcslawfirm.net
       Karen.Harris@gray-robinson.com           Counsel for Defendant R. Dionne
       Counsel for Defendant FDC

       Robert B. Buchanan, Esq.
       Siboni & Buchanan, PLLC
       1900 SE 18th Avenue, Suite 300
       Ocala, Florida 34471
       rbuchanan@sbtrial.com
       aperry@sbtrial.com
       Counsel for Defendant K. Turner


                                             /s/ Ryan J. Andrews
                                             RYAN J. ANDREWS



cc:   Gary H. Larsen, Esquire
      corourke@dglawyers.com




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